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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
 v.                                              :              No. 23-cr-160-RC
                                                 :
DANIEL BALL,                                     :
                                                 :
                           Defendant.            :

           UNITED STATES’ OPPOSITION TO DEFENDANT’S MOTION TO COMPEL

            The United States, by and through its attorney the United States Attorney for the District

of Columbia, respectfully requests this Court deny the defendant’s Motion to Compel (ECF No.

42). The defendant seeks material that is outside the provisions of Fed. R. Crim. P 16(a)(1), and

specifically excluded from disclosure under Fed. R. Crim. P 16(a)(2). In support of his request, he

claims the information is material to the preparation of his defense, but because he has not provided

any evidence tending to show how internal charging decisions or plea negotiations in this or other

cases are relevant to prepare his defense—and has not overcome the rigorous standard for

discovery in support of a selective prosecution claim—this Court should deny his motion.

      I.       Relevant factual background

               a. Specific Conduct of Daniel Ball

            Daniel Charles Ball travelled from Homosassa, Florida, to Washington D.C. in January

2021. After attending the “Stop the Steal” rally near the White House, he made his way to the

United States Capitol and joined a violent mob entering the building. At approximately 3:29 p.m.,

Ball entered the Capitol through the breached Senate Wing door. He quickly moved to a nearby

window, where he pried a piece of the wooden shutter away from the nearby window. Outside, he

broke the wood in half and presented it to another rioter, calling it “a piece of history.”
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       Nearly an hour later, Ball moved to the Lower West Terrace, and joined other rioters trying

to breach the Lower West Terrace door. During a concerted effort, Ball shoved against a phalanx

of police officers wearing high-visibility coats and helmets while carrying shields. After this

unsuccessful attempt to regain entry into the building, Ball returned to the mob on the nearly

constructed Presidential Inaugural stage. From this location, Ball threw a lit explosive into that

same phalanx. The device ricocheted off the face mask of a member of the Metropolitan Police

Department and exploded against the northern wall of the tunnel. The explosion caused an officer

to suffer hearing loss. Later, Ball threw a large piece of wood—a leg of a table or chair—at the

same line.

       Ball was arrested for his conduct on May 2, 2023, when Ball arrived for a regularly

scheduled probation appointment unrelated to the present case. Ball was transported by a local

sheriff’s deputy to the Citrus County Sheriff’s Office. During the transport, Ball stated, “I’m here

because I fought for this country! Are you a Trump voter? . . . I’m here because I fought for January

6!” He explained to the officer, “our country is hijacked right now! We are in an occupied country

by an unelected force.” Ball was taken to the Citrus County Sheriff’s Department, where he was

interviewed about his conduct.

       During his interview, Ball stated that he loved what the country used to be. Ball explained

to agents, “This country has been hijacked by a pedophile . . . I believe what I was doing was the

right thing.” Ball explained, “I went there in support of the American people, our rights, uh, the

American way of life, what I used to think it was. The people. I went there for the people. My son.

My family. . . . I went there with only good . . . intentions in my heart.” Ball told agents that he

threw “an M-100” at the officers and that he believed it exploded. Ball was shown an image online

and confirmed that the object he threw was like what was depicted in the image (below).



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                Figure 1: Open-source image shown to Ball during his interview.
Ball explained to agents, “they’re not powerful.” Further, Ball explained “there’s people blocking

these tyrants that are, uh, verifying a pedophile fucking sicko fucking stealing our country. Yes, I

was enraged and I should be enraged!” Additionally, Ball identified himself in 34 pages of

photographs depicting him at the Capitol.

           b. Procedural Posture

       On May 10, 2023, the grand jury returned a criminal indictment against Daniel Ball

alleging twelve counts of criminal conduct that occurred during the January 6, 2021, riot at the

Capitol. ECF No. 6 (Indictment). Following a hearing on whether the defendant should remain

detained pending trial, then-United States Magistrate Judge Robin M. Meriweather determined

that each of the four factors to be considered by the Court weighed in favor of detention. Notably,

the Court determined the strength of the government’s evidence, “weigh[ed] heavily in favor of

detention.” ECF No. 14 p. 6. The defendant remains detained pending trial.


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         During a joint status report filed on November 1, 2023, the parties requested a trial date to

occur during the summer of 2024. ECF No. 17. In its initial scheduling order, this Court set a trial

date to occur September 24, 2024, with an early motions’ deadline to answer any potential filings

related to the indictment. ECF No. 19. The defendant twice moved to continue this date over the

government’s opposition. ECF No. 20 and 24. The Court entered a new pretrial scheduling order

after the parties could confer on new dates. ECF No. 34. On August 9, 2024, the parties submitted

to the Court a joint status report. ECF No. 40.

         Ten days later, the defendant requested the items outlined within his motion to compel from

the government for the first time. Specifically, he requested, inter alia: internal communications

between various components of the Department of Justice, broad requests of discovery from other

cases around the country, and internal deliberative material from within the United States

Attorney’s Office for the District of Columbia. ECF No. 42, p. 5-7 (Motion to Compel). As

articulated, the defendant’s motion seeks materials to prove a “selective prosecution argument,”

id. at 3. The defendant has provided no other evidentiary basis for these requests. Thus, the

government effectively treats this Motion as one for discovery to support a selective prosecution

finding. Because the defendant fails to identify how such materials are relevant—even in the

selective prosecution context—his Motion must be denied.

   II.      Relevant Legal Background

         “Rule 16 is a discovery rule designed to protect defendants by compelling the prosecution

to turn over to the defense evidence material to the charges at issue.” Yates v. United States, 574

U.S. 528, 539 (2015). But there is no general constitutional right to discovery in a criminal case.

Weatherford v. Bursey, 429 U.S. 545 (1977). And the scope of discovery in criminal prosecutions

is narrower than it is in civil case. United States v. Hancock, 441 F.2d 1285 (5th Cir. 1971).



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        Additionally, because “[t]he Attorney General and United States Attorneys retain broad

discretion to enforce the Nation’s criminal laws,” a “presumption of regularity supports their

prosecutorial decisions and, in the absence of clear evidence to the contrary, courts presume that

they have properly discharged their duties.” United States v. Armstrong, 517 U.S. 456, 464 (1996)

(internal quotation marks omitted) (quoting Wayte v. United States, 470 U.S. 598, 607 (1985);

United States v. Chem. Found., Inc., 272 U.S. 1, 14–15 (1926)). This presumption “rests in part on

an assessment of the relative competence of prosecutors and courts.” Armstrong, 517 U.S. at 465;

see also Wayte v. United States, 470 U.S. 598, 607 (1985) (“This broad discretion rests largely on

the recognition that the decision to prosecute is particularly ill-suited to judicial review.”).

        “Such factors as the strength of the case, the prosecution’s general deterrence value, the

Government’s enforcement priorities, and the case’s relationship to the Government’s overall

enforcement plan are not readily susceptible to the kind of analysis courts are competent to

undertake.” Armstrong, 517 U.S. at 465; see also United States v. Fokker Servs. B.V., 818 F.3d

733, 741 (D.C. Cir. 2016) (“‘[J]udicial authority is . . . at its most limited’ when reviewing the

Executive’s . . . charging determinations” because “the Judiciary . . . generally is not ‘competent

to undertake’ that sort of inquiry.” (quoting Cmty. for Creative Non–Violence v. Pierce, 786 F.2d

1199, 1201 (D.C. Cir. 1986); Wayte, 470 U.S. at 607)). Given these considerations, there is a

presumption of regularity attached to prosecutorial decisions and, with that, a presumption of good

faith. See, e.g., Fokker Servs., 818 F.3d at 741. As a result, “[i]n the ordinary case, so long as the

prosecutor has probable cause to believe that the accused committed an offense defined by statute,

the decision whether or not to prosecute, and what charge to file or bring before a grand jury,

generally rests entirely in his discretion.” Armstrong, 517 U.S. at 464.




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        A prosecutor cannot, however, base a charging decision upon a person’s “race, religion,”

or other “arbitrary classification.” Armstrong, 517 U.S. at 464. The doctrine of “selective

prosecution” is a narrow exception to the general rule that a prosecutor’s charging decisions are

immune from judicial review where a defendant has sufficient evidence to show that a charging

decision was based, at least in part, upon an improper ground. See generally id. A defendant bears

a “heavy burden” in showing selective prosecution, because the prosecutor’s presumption of

regularity remains. Branch Ministries v. Rossotti, 40 F. Supp. 2d 15, 21 (D.D.C. 1999); see also

United States v. Gonzales, 119 F. App’x 576 at 577 (5th Cir. 2004). The presumption is

“formidable,” United States v. Lewis, 517 F.3d 20, 27 (1st Cir. 2008) (“That presumption of

regularity should be light discarded.”), and can be overcome only by presenting “clear evidence”

that the government acted improperly, Armstrong, 517 U.S. at 464.

        Specifically, a defendant must make two showings. First, he must proffer “clear evidence”

that similarly situated individuals of a different race, religion, or other arbitrary classification were

not prosecuted. Armstrong, 517 U.S. at 464. “[T]h[is] standard is “a demanding one.” Id. at 463.

A similarly situated offender is one whose “circumstances present no distinguishable legitimate

prosecutorial factors that might justify different prosecutorial decisions” between that person and

the defendant. United States v. Judd, 579 F. Supp. 3d 1, 4 (D.D.C. 2001). The phrase “similarly

situated” is “narrowly” interpreted. Id. (quoting United States v. Stone, 394 F. Supp. 3d 1, 31

(D.D.C. 2019)). In determining whether offenders are similarly situated, the court should “assess

every” fact that is “at least arguably material” to the prosecutorial decision. Lewis, 517 F.3d at 27.

Legitimate prosecutorial factors include “relative culpability, the strength of the case against

particular defendants, willingness to cooperate, and the potential impact of a prosecution on related

investigations.” United States v. Khanu, 664 F. Supp. 2d 28, 32 (D.D.C. 2009), see e.g. Frederick



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Douglass Found. v. Dist. Of Columbia, 82 F.3th 1122, 1152 (D.C. Cir. 2023) (affirming dismissal

of selective prosecution claim based on single fact that plaintiffs had been denied permits prior to

chalking political messages city streets whereas comparators, who were not arrested, had not

sought permission prior to engaging in their conduct).

       Second, a defendant must show that the government singled this defendant out for

prosecution based on the impermissible reason. See Stone, 394 F. Supp. 3d at 30. In other words,

to show discriminatory purpose, the defendant must present clear, credible evidence that the

government is prosecuting him “at least in part because” of an arbitrary classification. Wayte, 470

U.S. at 610. Compulsion of materials at issue here requires a heightened showing.

       The standard for obtaining discovery in support of a claim of selective prosecution is also

a high one. The rigorous “showing necessary to obtain discovery should itself be a significant

barrier to the litigation of insubstantial claims.” Armstrong, 517 U.S. at 464; see also United States

v. Bass, 536 U.S. 862, 864 (2002) (per curiam) (reversing selective-prosecution discovery order

that “threatene[d] the ‘performance of a core executive constitutional function’” (quoting

Armstrong, 517 U.S. at 465)); United States v. Bennett, 2023 WL 6847013 (D.D.C. Oct. 17, 2023)

(denying selective prosecution motion in January 6 context). To meet this standard, a defendant

must “come forward with some evidence tending to show the existence of the essential elements

of this defense.” United States v. Navarro, 627 F. Supp. 3d 1, 5 (D.D.C. 2022) (quoting Armstrong,

517 U.S. at 468). That is, the defendant must put forward “‘some evidence’ tending to show both

discriminatory effect and discriminatory intent.” Lewis, 517 F.3d at 25 (quoting Armstrong, 517

U.S. at 468) (“[D]iscovery will not be allowed unless the defendant's evidence supports each of

the two furcula of his selective prosecution theory: failure on one branch dooms the discovery

motion as a whole”). “If either part of the test is failed, the defense fails” and the defendant cannot



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“subject[] the Government to discovery.” Att’y Gen. of U.S. v. Irish People, Inc., 684 F.2d 928, 947

(D.C. Cir. 1982). 1 Importantly, conclusory allegations are not sufficient; instead, the defendant’s

evidence must be “credible”—something more than “personal conclusions based on anecdotal

evidence.” Armstrong, 517 U.S. at 470.

    III.      Argument

           The defendant’s broad request appears derived from his allegation that: in two separate

cases from two different states, two prosecutors may have made different charging decisions based

on some evidence, of some kind. See ECF No. 42, at 4-5, 7 n.4. That is the extent of the argument.

In attempting to respond to straw man, the government is left guessing as to exactly how

prosecutorial decisions from two different cases meet a “rigorous” standard for discovery of

protected information as to the Executive Branch’s internal deliberative process.

           More prominently, he also relies on the idea that this information will also support his

contention that the government has selectively targeted him based on his political views. ECF No.

42, p. 7. Neither provides a sufficient showing requiring this Court to grant his motion.

           To start, the defendant barely attempts to explain how this material shows that the

defendant is being treated disparately, in an unconstitutional fashion. He appears to cherry-pick

cases, ignores the context of this case (a riot during a constitutionally mandated proceeding),

ignores the facts of this case (throwing an incendiary device in the middle of the riot, at one of the

worst areas of violence against law enforcement officers that day), and appears to misunderstand




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  Moreover, a defendant cannot shift the burden to the government by claiming he cannot obtain
better evidence without discovery from the government. It “is not enough to say that evidence will
materialize if the discovery is ordered.” United States v. Stone, 394 F. Supp. 3d 1, 35 (D.D.C.
2019); United States v. Arenas-Ortiz, 339 F.3d 1066, 1071 (9th Cir. 2003) (“Merely demonstrating
that better evidence cannot be obtained without discovery does not suddenly render otherwise
insufficient evidence sufficient.”).
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the nature of the selective prosecution argument in the first instance. The defendant halfheartedly

recognizes that other judges have declined to compel the government to produce the same

information he now seeks but cannot identify a single instance of any judge in this context

compelling such information. ECF No. 42, at 7 n.7.

       Indeed, in United States v. Judd, 579 F. Supp. 3d 1, 5 (D.D.C. Dec. 28, 2021), Judge

McFadden dealt with one of the same issues: whether defendants who rioted outside the federal

courthouse in Portland occupied the same wavelength as the January 6 assault case before him. In

denying the selective prosecution motion, Judge McFadden noted that—while he had practical

concerns about some of the decisions made in the Portland riots, and identified some of the same

cases the defendant now identifies—the defendant must still “show that the Portland defendants

are similarly situated to him. He cannot do so.” Id. at 7. As stated:

       Although both Portland and January 6 rioters attacked federal buildings, the
       Portland defendants primarily attacked at night . . . In contrast, the January 6 rioters
       attacked the Capitol in broad daylight . . . their actions endangered hundreds of
       federal officials in the Capitol complex . . . The action in Portland, though
       destructive and ominous, caused no similar threat to civilians.

Id. at 7-8. In other words, the Portland defendants are not similarly situated to Judd, who was also

accused of lighting an object on fire. Id. at 3. Notably, the incendiary device in Judd was largely

unknown—believed to be a firecracker—and did not explode. Id. In contrast, the government can

prove beyond a reasonable doubt that the defendant’s weapon was an explosive 2 under federal law,

and did explode, in the midst of a riot. As properly stated in Judd, the defendant has not met “even




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  The defendant seizes upon this fact to buttress his claim that in a different case, a prosecutor
declined to prosecute a case “more severely” even though the device was similar to the one in this
case. See ECF No. 42, at 7 n.5. But this entire argument is shoddy guesswork, and far from the
type of “rigorous” showings that pierce the veil of government deliberation. It is also impossible
to discern the basis of this “understanding,” given the myriad of evidentiary and practical reasons
any one prosecutor might decide a certain course in a certain case.
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the threshold” for such discovery. Id. at 8. Of course, the defendant pithily dispenses with this

analysis by claiming—without explaining why—that cases involving such analysis must have

relied “on inaccurate or incomplete portrayals” and such analysis was “more or less irrelevant and

inapplicable”. ECF No. 42, at 7 n.7. The defendant protests that his concern is founded by the fact

that he is the “only January 6 defendant charged with Section 844(h).” Id. That is true. He is also

the only January 6 defendant who threw an operable explosive into a crowd of police officers

protecting the U.S. Capitol during a proceeding legally mandating the peaceful transfer of power.

        The defendant’s claim for discovery based on his belief that the charges in this case were

politically motivated fares no better. The thrust of his argument is that he is being treated differently

because of his political persuasion. See ECF No. 42, at 3 (citing the government’s citation of his

interview). Ignoring that the government’s citation had nothing to do with prosecuting him for his

political beliefs, the defendant attempts to support this allegation through several confusing

footnotes, and claims that his counsel was somehow “denied the ability to speak with” prosecutors.

Id. at n.4. As Judge Bates noted in United States v. Padilla, 2023 WL 1964214, at *6 (D.D.C. Feb

13, 2023), these scattered comparisons are “unavailing.” Id. Just as defendants who have alleged

(erroneous) bias by the FBI or the Justice Department through “anecdotal evidence”, id., the

defendant’s ultimate claim—that he is being prosecuted in the manner he is because of his

“constitutionally protected viewpoints”—is similarly unpersuasive.

        Here, the defendant is charged with crimes that focus on conduct—the use of an incendiary

device against law enforcement officers. While his statements in his interview may provide

evidence of motive and intent, the defendant somehow fails to note that the criminal complaint in

this case alleged a violation of §844(h) from the very beginning. ECF No. 1. Moreover, the

accompanying statement of facts was devoid of any discussion of an interview—because the



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defendant had not yet been arrested. ECF No. 1-1. In fact, the facts prior to arrest said nothing

regarding the defendant’s political beliefs. The takeaway is obvious.

         The defendant seeks information related to disparate treatment between two non-January

6 matters and his, then claims his prosecution is largely driven by political animus. Instead of

providing information, or meaningful argument, he cabins his request by conditioning his motion

to compel on a future motion for selective prosecution—which is, by its very nature, an argument

for discovery. Either way, his argument is premised on speculation and guesswork through a

patchwork of largely inapposite cases. For those reasons, his motion should be denied.

   IV.      Conclusion

         Because the defendant has not made a sufficient showing required for discovery to support

his selective prosecution claim, and otherwise seeks information specifically excluded from

disclosure, this Court should deny the defendant’s motion to compel.

                                      Respectfully submitted,

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